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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 LINDA MEDLEY,

          Plaintiff,

 v.                                                          Case No: 8:16-cv-2534-CEH-CPT

 DISH NETWORK, LLC,

          Defendant.
 ___________________________________/

                               AMENDED PRETRIAL ORDER

          This cause came before the Court at a pretrial conference held on December 13,

 2022, pursuant to Fed. R. Civ. P. 16(d) and Rule 3.06 Local Rules of the Middle

 District of Florida. Upon consideration, it is ORDERED that:

          (1)     This matter is set for a jury trial to begin during the Court’s January 2023

                  trial term1. The parties estimate that 2-3 days will be needed to try this

                  case.

          (2)     The parties’ Joint Pretrial Statement (Doc. 195) will control the course of

                  the trial and may not be further amended except by order of the Court in

                  the furtherance of justice.

          (3)     On or before December 23, 2022, the parties shall file an amended

                  pretrial statement. Plaintiff shall file an amendment to the Joint Pretrial




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     The trial of this case is tentatively scheduled to begin on January 23, 2023.
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             Statement which reflects the amount of money damages being sought

             with respect to each element of damages.

       (4)   If not already filed, by December 23, 2022, the parties shall file and serve

             on opposing counsel suggested voir dire questions.

       (5)   Plaintiff’s designation of deposition testimony, to be published to the jury

             as substantive evidence, shall be filed by December 20, 2022.

             Defendant’s counter-designations of deposition testimony and objections

             to designations shall be filed by December 27, 2022.

       (6)   Pending Motions in Limine will be heard prior to commencement of the

             trial. At the same time, the Court will resolve any objections to

             depositions transcripts.

       (7)   On or before December 23, 2022, the parties shall file a notice with the

             Court indicating the name, address, and telephone number of the

             mediator selected and the date of the mediation. Mediation shall be

             conducted to conclude on or before January 17, 2023.

       (8)   Each side will be allowed twenty (20) minutes for opening statements.

             The time allowed for closing arguments will be established after

             conclusion of evidence.

       (9)   The parties are directed to deliver the following to the Courtroom Deputy

             Clerk on the morning of trial: (1) copy of all depositions that the parties

             intend to read at trial, other than those used for the purpose of

             impeaching a witness, with the selected excerpts so marked; (2) three
                                           2
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            copies of each parties’ witness list; and (3) three copies of each parties’

            exhibit list. Additionally, on the last day of trial, the parties are directed

            to deliver to the Courtroom Deputy Clerk a CD which contains all of the

            parties’ exhibits, individually listed, in pdf format.

       DONE AND ORDERED in Tampa, Florida on December 21, 2022.




 Copies to:
 Counsel of Record




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